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            R O B I N S O N B R O G L E I N W A N D G R E E N E G E N O V E S E & G L U C K P.C.
                                              875 THIRD AVENUE
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                                                February 10, 2021
                                                                                              Fred B. Ringel
                                                                                              (212) 603-6301
                                                                                              fbr@robinsonbrog.com
VIA ECF
The Honorable Jil Mazer-Marino
United States Bankruptcy Judge
United States Bankruptcy Court EDNY
Conrad B. Duberstein Courthouse
271 Cadman Plaza East
Brooklyn, New York 11201-1800

                  RE:       FMTB BH LLC, Debtor Chapter 11 Case No. 18-42228-jmm

Dear Judge Mazer-Marino:

       We represent the debtor FMTB BH LLC (the “Debtor” or “Purchaser”) in its
chapter 11 bankruptcy case. As Your Honor may recall, at the hearing held on January
20, 2021, the parties indicated that the planned closings on four of the five sale contracts
might narrow the issues before this Court. Accordingly, the Court directed the parties to
file position statements setting forth their views on any remaining issues in the case
relative to two pending motions.1 The Court directed the parties to file their position
statement on February 10, 2021, followed by responses on February 17, 2021. The
following is the Debtor’s position statement.2

       As the Court is aware, by order dated September 30, 2020 [ECF Doc. No. 87] (the
“Assumption Order”), Judge Craig authorized the Debtor to assume five separate
contracts to purchase five properties located at 1988 Morris Avenue, 1974 Morris
Avenue, 700 Beck Street, 1143 Forest Avenue, and 1821 Topping Avenue. The Debtor
has already closed on four of the five properties subject to the assumed purchase
agreements, except for the property located at 1821 Topping Avenue (the “Property”),
owned by 1821 Topping Ave LLC (the “Seller”), which is subject to the dispute

1
  The pending motions are the Debtor’s motion to compel, at ECF Docket number 110 and the Seller’s motion for
contempt at ECF Docket number 109.
2
  The position statement supersedes the contentions set forth in the Debtor’s letter to the Court filed on January 6,
2021 [ECF Doc. No. 124] which, inter alia, asserted that Sellers were required to return the sum of $62,334.24 to
the Debtor prior to effectuating the termination of the contract to sell the property located at 1821 Topping Avenue.
To the extent the letter filed on January 6, 2021 is inconsistent with this position statement, the January 6th letter is
superseded by this position statement.


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described herein.

       On January 6, 2021, Seller’s counsel filed a letter on the Court’s docket (the
“Seller’s January 6th Letter”) [ECF Doc. No. 125], wherein the Seller indicated its desire
to terminate the 1821 Topping Avenue Contract (the “Contract”)3 by invoking paragraph
7 of the Rider to the Contract.4 In light of the closings, the Debtor believes the sole
disputed issue is how much money the Seller must first return to the Debtor before
exercising its right to cancel the Contract.

       The Seller contends that the amount to be returned is $27,880.00 (comprised of the
additional $169,000 down payment per the Addendum5 less the $141,120.00 Seller
claims it is owed on account of section 365(b)(1)(A) cure payment due under the
Assumption Order). The Debtor asserts that the amount to be returned to it is
$203,444.44, consisting of (a) the initial down payment of $34,444.44 (the “Initial Down
Payment”) paid under the Contract of Sale and (b) the down payment of $169,000 (the
“Subsequent Down Payment”) required under paragraph 5 of the Addendum. Moreover,
the Seller is not entitled to receive any of the $141,2006 Debtor’s counsel is holding in
escrow since (a) given that Seller purports to terminate the Contract, no cure payment
will ever be due under section 365 of the Bankruptcy Code and (ii) no mortgage
payments are due under paragraph 6 of the Rider because there will never be any closing
date under the contract due to Seller’s exercise of its right to terminate the Contract.7
Therefore, the Court should vacate its order entered on January 14, 2021 [ECF Doc No.
126], providing for the Seller to have any right to the funds held in escrow by Debtor’s
counsel if the Court permits the Seller to terminate the contract to sell 1821 Topping
Avenue.8

       The clear and unambiguous Contract is the only agreement relevant to this
dispute.9 “It is axiomatic that ‘[w]hen the terms of a written contract are clear and
unambiguous, the intent of the parties must be found within the four corners of the
contract, giving practical interpretation to the language employed and the parties’

3
  The Contract is comprised of the following: (i) the Contract of Sale, dated June 19, 2017 (the “Contract of Sale”),
(ii) the Seller’s Rider to Contract, dated June 19, 2017 (the “Rider”), and (iii) the Addendum to Contract, dated
October 4, 2017 (the “Addendum”). A copy of the Contract is attached hereto as Exhibit A
4
  A copy of the Seller’s January 6th Letter is attached hereto as Exhibit B.
5
  See Exhibit A, Addendum ¶5.
6
  The $141,120.00 represents 36 months of mortgage payments (at $3,920 per month) due “from execution of this
Agreement to the Closing Date.” Addendum ¶5. See also, Assumption Order at p. 2. Under the Addendum, the
$3,920 was to be paid at the closing of the sale of the Property
7
  In addition, the Seller must pay the net cost of title examination, which the Debtor will provide to the Seller.
8
  If the Seller does not return the funds owed to the Debtor so it can terminate the Contract, then the Court should
grant the Debtor’s motion to compel and require the Seller to cure all violations at the 1821 Topping Avenue
Property or punish it for failing to obey the Assumption Order.
9
  As discussed herein, the Assumption Order and the proposed Amended Order Releasing Monies from Escrow
filed on February 8, 2021 are also relevant.


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reasonable expectations.’” In the Matter of Alfred J. Carracino, 78 A.D.3d 1049 (App.
Div. 2d Dept. 2010); M & R Rockaway, LLC v. SK Rockaway Real Estate Co., LLC, 74
A.D. 3d 759 (App. Div. 2d Dept. 2010) (“When the terms of a written contract are clear
and unambiguous, the intent of the parties must be found within the four corners of the
contract, giving practical interpretation to the language employed and the parties’
reasonable expectations.”); United Mgmt Admin & Marketing Servs, Inc., 102 A.D.3d
766,767 (App. Div. 2d Dept 2013); cf. Niagara Foods, Inc. v. Ferguson Elec. Service
Co., Inc, 111 A.D. 3d 1374, 1377 (App. Div. 4th Dept. 2013)(‘“Parole evidence -
evidence outside the four corners of the document – is admissible only if the court finds
an ambiguity in the contract.”’). “[A] written agreement that is complete, clear and
unambiguous on its face must be enforced according to the plain meaning of its terms.”
M & R Rockaway, LLC v. SK Rockaway Real Estate Co., LLC, 74 A.D.3d at 759
(citations omitted); United Mgmt. Admin & Marketing Servs, Inc., 102 A.D.3d at 767.
“This rule is of special import ‘in the context of real property transactions, where
commercial certainty is a paramount concern, and where . . . the instrument was
negotiated between sophisticated, counseled businesspeople negotiating at arm’s length.”
M & R Rockaway, LLC v. SK Rockaway Real Estate Co., LLC, 74 A.D.3d at 759
(citations omitted).

       Here, the relevant provision is paragraph 7 of the Rider, which provides, in
relevant part, as follows:

              In the event that Seller chooses not to remove such violations or if the
              costs of removal exceed $5,00010, Seller shall have the right to
              cancel this contract by returning to Purchaser all sums paid
              hereunder plus the net cost of title examination, and upon such
              repayment, the contract shall be deemed null and void, and neither
              of the parties herein shall have any claims against the other party.
              Purchaser may also take title subject to such violations without any
              abatement to the purchase price, and Seller shall be released from any
              and all liability in connection with such violations. (emphasis added).

       This provision is clear and unambiguous. For the Seller to cancel the Contract, it
must first return to Purchaser “all sums paid” plus title examination costs. No language
in the Contract can be construed to mean that “all sums paid” does not actually mean “all
sums paid.” This Court may not add or excise terms of the Contract in connection with
interpreting it. In the Matter of Alfred J. Carracino, 78 A.D.3d at 1050 (“‘Courts may not
by construction add or excise terms, nor distort the meaning of those used and thereby
make a new contract for the parties under the guise of interpreting the writing.’”);
Slamow v. Delcol, 174 A.D.2d 725, 727 (App. Div. 2d Dept. 1991) (“[a]court may not

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     The original amount of $1,500 was increased to $5,000.


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rewrite into a contract conditions the parties did not insert by adding or excising terms
under the guise of construction, nor may it construe the language in such a way as would
distort the contract’s apparent meaning.”).

       Thus, under the terms of the Contract, to effectuate the Contract's termination, the
Seller must return to the Debtor all sums paid to it, in the amount of $203,444.44,
consisting of the $34,444.44 Initial Down Payment and the $169,000 Subsequent Down
Payment.

       Also, the Debtor is not obligated to pay the Seller any part of the $141,120.00
currently held in escrow. Under paragraph 6 of the Addendum, the Debtor agreed to
make monthly mortgage interest payments of $3,920 for the 1821 Topping Avenue
property for each month from the Addendum's execution to the closing date. Under the
Assumption Order, the Debtor was authorized to assume all five contracts following the
terms of the contracts. The sellers of each property were “directed to transfer title to the
Debtor at such Closing upon payment of the purchase price due under the Contracts to
the [sellers] at Closing strictly in accordance with the provisions of the Contracts.”
Assumption Order at p. 2. Thus, the Assumption Order provided that to assume the
Contract, the cure payment of $141,120 had to be paid under section 365(b)(1)(A).
However, the Court did not provide that the Seller could subvert the Debtor’s right to
assume the Contract by terminating it and at the same time still receive the cure payment
required under section 365 of the Bankruptcy Code to assume the Contract. As a result
of the Seller’s termination of the Contract, (i) there will be no Closing11 for the Property,
a requirement to receive these payments, and (ii) there will be no assumption of the
Contract, a requirement for the Seller to be entitled to any cure payment under section
365 of the Bankruptcy Code. Thus, the Debtor is entitled to retain the $141,120.00 in
escrowed mortgage cure payments, and the Seller is not entitled to offset the $141,120.00
accumulated cure payments against the Subsequent Down Payment.12

       In contrast to the Debtor’s straight forward analysis of the Contract, Assumption
Order, and section 365 of the Bankruptcy Code, and without any support in the Contract
and contrary to its clear and unambiguous terms, the Seller seeks to rewrite the Contract
to improperly reduce the amount it must return to the Debtor to terminate the Contract.
Although there is no support in the Contract for its position, the Seller asserts that (i) the
$34,444.44 Initial Down Payment on the Contract of Sale was forfeited by the Debtor

11
   In paragraph 14(a) of the Contract of Sale, the term “Closing” means the settlement of the obligations of Seller
and Purchaser to each other under this contract, including the payment of the purchase price to Seller and the
delivery to Purchaser of a bargain and sale with covenant against grantor’s deed in proper statutory short form for
record, duly executed and acknowledged, so as to convey to Purchaser fee simple title to the Premises, free of all
encumbrances….
12
    The Amended Order Releasing Monies From Escrow filed on February 8, 2021, will be revised by the Debtor
and re-noticed to provide that the $141,200 can be released if (i) the Court permits the Seller to take a credit or (ii)
the Court determined that the Seller has no rights to those funds.


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when it was released, and (ii) the Debtor agreed to release the Initial Down Payment to
the Seller as consideration for the Seller not declaring the Debtor in default for failing to
close on October 2, 2017. Exhibit B, Seller’s January 6th Letter at 2.

        The Seller’s contentions are not supported by the clear and unambiguous terms of
the Contract of Sale and Rider. First, the Contract of Sale does not address the Seller’s
ability to terminate the Contract based on the Seller’s refusal to cure all violations at the
1821 Topping Avenue property. Only paragraph 7 of the Rider provides that the Seller
has the right to cancel the Contract by first returning to Purchaser all sums paid under the
Contract. Indeed, until the Seller returns the funds to the Debtor, it cannot terminate the
Contract. Until termination, the Seller is subject to terms of the Assumption Order and
the obligation to cure all of the violations at the property and convey the Property to the
Debtor according to the Contract's terms.

       The term “all sums” is neither qualified in paragraph 7 nor any other provision of
the Rider. Finally, no provision in the Contract distinguishes between a down payment
that Seller’s counsel is holding and one that has been released. In other words, the down
payment does not lose its character as a down payment simply because it has been
released to the Seller. If the Seller chooses to terminate the Contract, as it is attempting to
do so here, it does not get to avoid its obligation to convey the property and retain the
Debtor’s down payment as if it had performed. Under the Contract, all down payments
that were paid must be returned to the Purchaser for the Seller to terminate the Contract.
Rider ¶7. This provision includes the Initial Down Payment that was released from
escrow.

        The Addendum also does not support the Seller’s contention that the Debtor
forfeited the $34,444.44 Initial Down Payment. On or about October 4, 2017 (two days
after the scheduled October 2, 2017 closing), the parties entered into the Addendum,
which, among other things, amended the Contract of Sale to release the escrow deposit
and add an additional deposit. Paragraph 2 of the Addendum provides as follows:

                 Purchaser consents to the immediate release of the Down payment
                 held by the Seller in the amount of $34,444.44.

        Paragraph 8 provides:

                 As hereby amended, the terms of the Contract are hereby verified and
                 confirmed in all respects.

        These provisions demonstrate that the Debtor consented to the release of the Initial
Down Payment and that all provisions in the Contract of Sale and Rider are confirmed in
all respects, except as outlined in the Addendum. There is no provision in the Addendum


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(or anywhere else in the Contract) where the Debtor (i) was to forfeit its deposit if the
Seller canceled the Contract and decided not to cure the violations and sell 1821 Topping
Avenue to the Purchaser, or (ii) was to release the deposit as consideration for an
extension of the closing date or not to claim a default. If the parties intended that the
Debtor was to release and forfeit its deposit, that language would have been included in
the Addendum. It was not. Thus, the Addendum does not support the Seller’s contention
that it does not have to return the Initial Down Payment.

        Furthermore, as there is no ambiguity in the Contract, any extrinsic evidence
outside the Contract is inadmissible to alter the Contract. Schron v. Troutman Sanders
LLP, 20 N.Y.3d 430, 433 (2013). (“As a general rule, extrinsic evidence is inadmissible
to alter or add a provision to a written agreement.”) See Namad v. Salomon Inc., 74 N.Y.
2d 751, 753 (1989) (“Parole evidence is inadmissible if a contract is clear on its face and
sufficient alone to divine the intent of the parties.”). Thus, as the Contract is
unambiguous and parole evidence is inadmissible, the Seller should be obligated to return
$203,444.24 to the Debtor, and the Debtor should be entitled to retain the $141,120 in
escrowed cure payments.

         For all of the preceding reasons, the Seller’s after the fact attempt to construe the
Contract in a way that does violence to its clear and unambiguous meaning should be
rejected by the Court. Now is not the time, three and one-half years after the Addendum
was executed, for the Seller to be permitted to enforce the Contract in a manner violative
of its plain meaning and not how it was drafted but how it wishes it had been drafted.

                                                   Respectfully submitted,
                                                   /s/ Fred B. Ringel
                                                    Fred B. Ringel

cc:     Brian Markowitz, Esq. (via email)
        Joseph Zelmanovitz, Esq (via email)




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                        EXHIBIT A
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                                                                                Brian J. Markowitz
                                                                                  (646) 768-4127
                                                                     bmarkowitz@GoldsteinHall.com

                                             January 6, 2021



VIA PACER
HON. JIL MAZER-MARINO
United States Bankruptcy Judge
United States Bankruptcy Court
Eastern District of New York
Conrad B. Duberstein Courthouse
271-C Cadman Plaza East - Suite 1595
Brooklyn, NY 11201-1800


               Re: FMTB BH LLC, Debtor (18-42228-jmm)
                   FMTB BH LLC v. 1988 Morris Avenue LLC et al. (Adv. Pro. # 18-01052-jmm)


Honorable Judge Mazer-Marino:


               As your Honor may recall, this office represents 1988 Morris Ave LLC (incorrectly
sued herein as 1988 Morris Avenue LLC), 1974 Morris Ave LLC (incorrectly sued herein as 1974
Morris Avenue LLC), 700 Beck Street LLC, 1143 Forest Ave LLC (incorrectly sued herein as 1143
Forest Avenue LLC) and 1821 Topping Ave LLC (incorrectly sued herein as 1821 Topping Avenue
LLC), the Defendants in the above referenced adversary proceeding. This letter is being sent at Your
Honor’s direction regarding the Defendant’s intentions with respect to closing on the five subject
properties.

                 Since the hearing held on December 18, 2020, the Debtor wrote the Defendants offering
to close on four of the five properties, to wit, 770 Beck Street, 1143 Forest Ave., 1988 Morris Ave.
and 1974 Morris Ave., as is, without an abatement to the purchase price for any outstanding violations
or title defects. Those closings are scheduled to take place on or about January 15, 2021.

                 With respect to the property located at 1821 Topping Avenue, Debtor is unwilling to
take this property, as is, without an abatement to the purchase price for any outstanding violations or
title defects. Accordingly, 1821 Topping Ave LLC, will be invoking paragraph 7 of the Rider to the
Contract for Sale and hereby terminates the Contract for Sale. Paragraph 7 of the Rider provides for
the seller to the return of “all sums paid hereunder plus the net cost of title examination”.
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                According to 1821 Topping Avenue LLC’s calculations, the amount to be returned is
calculated as follows:

    Down payment as per October 4, 2017 Addendum1                                      $169,000.00
    Mortgage Payment Due October 31, 2020 as per court order                         ($141,120.00)
    Amount Due                                                                          $27,880.00

It is important to note that Debtor is not entitled to the return of the initial deposit in the amount of
$34,444.44 because Debtor has forfeited this amount in exchange for a new time of the essence closing
date. As the evidence showed at trial, the Debtor failed to appear at several time of the essence closing
dates. One such time of the essence closing was scheduled for October 2, 2017. However, as
consideration for setting a new time of the essence closing date of December 18, 2017, the Debtor on
October 4, 2017, agreed to release the initial deposit to 1821 Topping Avenue LLC and deposited a
new down payment. Because the initial down payment was consideration for reviving the default of
the Debtor in not closing on October 2, 2017, the Debtor’s release of the initial deposit is not returnable
as per paragraph 7 of the Rider.

                Lastly, Debtor’s counsel’s has requested in its January 5, 2021 letter that this office
prepare an order for release of the escrow funds, which we are prepared to do. The January 5, 2021
letter appeared to indicate that the mortgage payments, held in escrow, would be paid to 1821 Topping
Avenue LLC and 1988 Morris Ave LLC. However, Debtor’s letter to this Court now indicates that
they expect that the 1821 Topping Avenue LLC mortgage payments be released back to Mr. Leifler.
As previously addressed to this Court, the Court’s prior order made it clear that Debtor was to make
that payment to 1821 Topping Avenue LLC by October 31, 2020, regardless of whether the closing
took place or not. Indeed the Court’s prior order did not make any distinction as to whether the
properties closed or not, but rather, set a hard and fast date for Debtor to make that payment to cure
its own defaults. Debtor should not be given the opportunity to circumvent the clear and unambiguous
terms of the Court’s prior order.

                Accordingly, this office will be preparing two separate orders for this Court to consider
regarding the release of each portion of the escrow payment to the respective Defendants. With respect
to 1988 Morris Ave LLC, as the release of the mortgage payments held in escrow are not in dispute,



1
     As per the terms of the Addendum, the initial down payment of $34,444.44 was forfeited by Debtor and
agreed to be released to 1821 Topping Avenue LLC as consideration for amending the Contract for Sale due to
Debtor’s failure to appear at the October 2, 2017 time of the essence closing. As such, that amount is no longer
considered a down payment, but rather was consideration for 1821 Topping Avenue LLC not declaring a default
of the Contract of Sale on October 2, 2017.
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we respectfully request that this order be addressed prior to the January 15, 2021 closing date, so as to
not hold up such closing.

                                              Respectfully submitted,



                                              Brian J. Markowitz
